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                 EXHIBIT 1
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2022 BALTIMORE POLICE
DEPARTMENT SEXUAL ASSAULT
DATA REPORT



                                                February 29, 2024


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Executive Summary
This report summarizes the results of the Baltimore Police Department’s (BPD) analysis of
sexual assault investigations data for 2022. The report is intended to:
        1) Provide a broad overview of the investigations that BPD conducted and a description
        of notable trends and outcomes; and
        2) Provide an update on BPD’s efforts to enhance oversight of its sexual assault
        investigations by expanding data collection and analysis.
A review of all of the 2022 data1, explained in detail throughout the report, shows some key
findings, including:
    •   The Sex Offense Unit (SOU) received 265 total cases in 2022 and the Child Abuse Unit
        (CAU) received 211 total sex offense cases in 20222. In comparison, in 2021, the SOU
        received 327 total cases and CAU had received 331 total sex offense cases. Both SOU
        and CAU saw a decline in case numbers between 2021 and 2022. SOU’s cases declined
        by 19% and CAU’s cases declined by 36% from 2021 to 2022.

    •   BPD’s Patrol Division handled a total of 126 cases of 4th degree sex offense, which are
        the only type of sex offense cases that Patrol officers may handle.3

    •   Cases of rape constituted 70% of SOU’s cases and 32% of CAU’s sex offense cases in
        2022.

    •   The majority of the cases handled by SOU (90%) and the Child Abuse Unit (95%) are
        cases where the victim and offender knew each other.4 For Patrol’s cases, 88% of
        victims and offenders knew each other for the cases handled in 2022.

    •   By the end of 2022, SOU had sent 91 of its 2022 cases (34%) to the Baltimore City State’s
        Attorney’s Office (BCSAO) for review. CAU had sent 63 of its 2022 cases to BCSAO by the

1
  A disclaimer about the data contained in this report: While more data was extractable from Axon Records for
2022 cases as compared to past years, this report continues to contain some data that was pulled manually and/or
tabulated from various BPD data systems, and then organized into tables and figures for public and internal use.
Due to this human-involved process, it is possible that some of the data points may include minor clerical errors
resulting in incorrect numbers or typos. Moving forward, particularly with the upgrades to BPD’s Case
Management System which occurred midway through 2023, BPD expects that data pulling and analysis will
become even more automated, and thus, less susceptible to human error in the future.
2
  BPD’s Child Abuse Unit (CAU) handles investigations of crimes involving physical and sexual crimes against
children. For the purposes of this report, all numbers associated with CAU only include those cases that involve sex
crimes, to include rape, attempted rape, sexual child abuse, possible sex offense, possible sexual child abuse, sex
offense, and rape sodomy. All CAU investigations of physical child abuse were excluded from this case population
and analysis.
3
  There are some instances where SOU or CAU will take over a 4th degree case, depending on the circumstances.
4
  In this report, for consistency and ease of reference, BPD will refer to all persons who perpetrated the crime as
‘offenders’ – whether that person is known, not known, or there is an offender who has not yet been convicted.

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       end of 2022. Most of the 2022 cases that were not yet sent to BCSAO for review were
       still under active investigation, and thus may have been sent to BCSAO since the end of
       2022, or may still be sent to BCSAO in the future.

   •   By the end of 2022, zero SOU cases were closed by exception as compared to 2 in 2021,
       zero in 2020, 34 in 2019 and 44 in 2018. In 2022, 3 CAU cases were closed by exception,
       as compared to 4 in 2021, 1 in 2020, and 10 in 2019. This continues a trend that appears
       to have been established in 2020 whereby cases that are cleared by exception remain
       few, due to the Department modifying its closed by exception practices in 2020 to align
       with national best practices.

   •   SOU’s closed by arrest rate, calculated based on the total number of cases closed in
       calendar year 2022 divided by the total number of cases received in 2022, was
       approximately 15%. A rate of 15% in 2022 is slightly higher than the rates in 2020 and
       2021, which were estimated at approximately 13.5%. CAU’s closed by arrest rate in
       2022 was 11%, which was lower as compared to prior years, when it was 27.8% in 2021
       and 24.7% in 2020.

   •   Median processing time for SOU’s 2022 case SAFE kits was 203 days; approximately one
       week shorter than that observed in 2021 (211 days).

It is important to note that for all of the information detailed below, analyses include data from
January 1, 2022 through December 31, 2022. Therefore, the data do not reflect changes or
updates that occurred after December 31, 2022 unless otherwise specified.
Throughout 2022, BPD continued its many efforts to improve training, procedures, and
documentation related to sexual assault investigations. Those efforts all attribute to the work
that is detailed below, describing the case work achieved by BPD on sex offense cases
throughout 2022.
This report continues to address the great majority of the requirements set forth in Paragraph
264 of the Consent Decree. As compared to last year’s report, this year’s report contains much
more data that was pulled from BPD’s upgraded Records Management System (RMS), called
Axon Records, which was in use by BPD the entire calendar year of 2022. As noted in Appendix
B, Methodology, the data for this report regarding number of cases investigated,
victim/offender demographic information, among other information was sourced from Axon
Records. While BPD continues to make strides in its data collection capabilities, this report still
contains data that was pulled, reviewed, and aggregated through a manual process. Appendix
B specifies which information was pulled from which database. With the implementation of
Axon Case Management in June 2023, BPD aims to automate more of this data collection and
consolidation more fully in the future. Until such time as the case management system is
updated, it will continue to be necessary for BPD to conduct manual work in order to compile
this report. More complete future reporting should allow for greater transparency and
increased agency legitimacy, better case outcomes, and the continual improvement of victim-
centered practices.


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Key definitions for terminology and the abbreviations used throughout this report are listed in
Appendix A. The detailed methodology used to conduct the review completed for this report is
provided in Appendix B.



Consent Decree
Per Section XI, Paragraph 264, of the Consent Decree, Handling of Reports of Sexual Assault,
BPD will “continue to enhance its data collection, analysis, and reporting. The data to be
collected and analyzed should include the following:
    a. The numbers of sex offenses, broken down by crime category, that are reported to BPD,
       identifying, where applicable, incidents involving co-occurring crimes (i.e. sexual assaults
       involving domestic violence or stalking);
    b. The number of offenders, both the totals and broken down by gender (i.e., male,
       female, transgender, queer or non-binary) and the relationship of the offender to the
       victim (i.e., stranger or non-stranger);
    c. The number of victims/complainants, both the totals and broken down by gender, race,
       and age (i.e., under 18 and 18 and older);
    d. The total number of sex offense reports categorized as founded and unfounded, broken
       down by the BPD unit categorizing the report5;
    e. The total numbers of sex offense reports, broken down by the BPD unit handling the
       report, that (1) were cleared by arrest, (2) were cleared by exceptional clearance,
       including by clearance category, (3) remain open and inactive, and (4) were referred to
       the Baltimore City State’s Attorney’s Office for filing of charges; and
    f. Data about the processing of forensic medical exams (often referred to as “rape kits”),
       including: (1) date of reported incident; (2) date of SAFE exam; (3) date detectives
       request lab analysis of SAFE exam; (4) date detectives receive lab analysis results.”



Relevant Policies
    → Policy 107, Offense Clearance Procedure
    → Policy 708, Rape and Sexual Assault
    → Policy 711, Domestic Violence
    → Policy 720, Interactions with LGBTQ+ Individuals


5
 Paragraph 264(d) of the Consent Decree requires reporting on founded and unfounded sex offense reports.
However, BPD does not generally describe cases as “founded.” For the sake of reporting all data required by the
Consent Decree, BPD asserts that those it would consider “founded” would be the total number of cases that were
not unfounded in a given year. Thus, references to “founded” cases below are those cases that were not deemed
unfounded by BPD.

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             → Policy 1201, Child Abuse Investigations




A. Paragraph 264(a)
Under Paragraph 264(a), BPD must track “[t]he numbers of sex offenses, broken down by
crime category, that are reported to BPD, identifying, where applicable, incidents involving
co-occurring crimes (i.e., sexual assaults involving domestic violence or stalking).”

Cases Received by BPD’s Sex Offense Unit (SOU)

From January to December 2022, SOU received 265 sex offense cases. Figure 1, below, shows
SOU’s case numbers over the past 5 years, for comparison. Consistent with previous reports,
cases are counted for a given year based on when the case was received by SOU. Therefore, an
incident that occurred on December 30, 2021 but was reported to BPD on January 2, 2022
would count towards 2022’s case numbers.

Compared to 2021, the number of cases handled by SOU declined by 19% in 2022.

FIGURE 1: SOU CASE TOTALS, 2018-2022
                          SOU CASE TOTALS BY YEAR, 2018-2022
             340                                                  327
             320
                         298
             300                        285
# of Cases




                                                         274
             280                                                                   265
             260
             240
             220
             200
                        2018            2019             2020     2021             2022
                                                         Year


Figure 2, below, represents the breakdown of offense categories for SOU cases received in
2022. Rape was the predominant offense type for SOU’s 2022 cases, comprising 70% of cases.

While BPD’s Child Abuse Unit handles most sex offenses involving victims age 15 and under, as
seen in Figure 2, the SOU handled 4 Sexual Child Abuse and 3 Possible Sexual Child Abuse cases
in 2022. As stated in previous years’ reports, these child cases handled by SOU were cases
where the child sexual abuse occurred in years past, when the victim was a minor, but the
incident was not reported until 2022, once the victim was an adult.


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The preface “possible”, for offense types in Figure 2, refers to a case where investigators have
not yet determined whether an offense occurred. That is, no definitive crime was initially
articulated by the victim. However, SOU continues the investigation to determine whether an
offense or abuse did occur.

FIGURE 2: TYPES OF OFFENSES RECEIVED BY SOU, 2022

                                                     TYPES OF OFFENSES - SOU
                           Sexual Child Abuse            4
                                  Sex Offense                         26
                                     Robbery         1
    Offense Type




                                Rape Sodomy              4
                                         Rape                                                                                185
                   Possible Sexual Child Abuse       3
                         Possible Sex Offense                                   41
                             Attempted Rape                  7

                                                 0               20        40        60   80   100   120   140   160   180       200
                                                              Number of Offenses
Figure Note: Offense categories add up to more than 265 because some cases involve more than one victim and/or
more than one offense type.

Cases Received by BPD’s Child Abuse Unit (CAU)

From January to December 2022, CAU received 211 sex offense cases. An important piece of
information to note is that BPD’s Child Abuse Unit handles cases of physical abuse against
children as well as cases of sex offenses against children. CAU’s data on physical abuse is
omitted from this report for clarity. As such, throughout this report, when CAU’s case data is
discussed, the report is specifically referring to CAU’s population of cases involving sexual
offenses, not their total case population.

Compared to 2021, the number of cases received by CAU declined by approximately 36% in
2022. Figure 3, below, illustrates CAU’s sex offense case numbers for the past four years, for
comparison.6




6
 As stated in past reports, CAU’s 2018 data has not been included in these reports because in 2018, BPD was not
able to separate out physical and sexual abuse data from Child Abuse’s caseload.

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FIGURE 3: CAU CASE TOTALS, 2019-2022

                                      CAU CASE TOTALS BY YEAR, 2019-2022
                   340                                                                        331

                   320
                   300               290
   # of Cases




                   280
                   260                                            251

                   240
                   220                                                                                          211

                   200
                                    2019                          2020                        2021              2022
                                                                               Year




Figure 4, below, represents the breakdown of offense categories for CAU cases received in
2022. Rape (67) and Child Sexual Abuse (66) were the most common offense types for CAU
cases in 2022, comprising approximately 32% of CAU’s caseload, each.

FIGURE 4: TYPES OF OFFENSES RECEIVED BY CAU, 2022

                                                 TYPES OF OFFENSES - CAU

                                    Statutory            3

                           Sexual Child Abuse                                                             66

                                  Sex Offense                                       31
   Offense Types




                                         Rape                                                             67

                   Possible Sexual Child Abuse                            25

                         Possible Sex Offense                            23

                                        Other        1

                             Attempted Rape          1

                                                 0           10   20           30        40     50   60    70         80
                                                                               Number of Offenses

Figure Note: Offense categories add up to more than 211 because some cases involve more than one victim and/or
more than one offense type.

                                                                                                                           8
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Cases Received by BPD’s Patrol Division (4th Degree Sex Offenses Only)

As explained in previous years’ reports, BPD’s policy requires that all types of sexual offense
cases – with the exception of 4th degree sex offense cases – are investigated either by SOU and
CAU. On the other hand, 4th degree sexual offenses are usually investigated by Patrol, but may
be transferred to SOU or CAU in certain instances. Policy 708, Rape and Sexual Assault requires
Patrol to contact either SOU or CAU for every sex offense call received – no matter the type of
crime. After consultation by SOU or CAU, the SOU or CAU detective will instruct the Patrol
officer as to whether the case should be forwarded to the appropriate Special Investigations
Section Unit (either SOU or CAU) for investigation, or if Patrol will continue to investigate the
case. Therefore, the total number of sex offense cases Patrol handles represents the more
minor sex offenses that BPD handles, and Patrol must consult with SOU or CAU on each of
these cases prior to proceeding with the investigation.
From January to December 2022, Patrol handled 126 4th degree sex offenses. Compared to
2021, the number of 4th degree sex offense cases handled by Patrol increased by 21%. Figure 5,
below, showcases Patrol cases over the last three years, for comparison.7

FIGURE 5: PATROL’S 4TH DEGREE SEX OFFENSE CASE TOTALS, 2020-2022

                         4th DEGREE SEX OFFENSE CASES HANDLED BY
                                     PATROL, 2020-2022
    140
                                                                                                   126
    120
                        108
                                                             104
    100

     80

     60

     40

     20

      0
                       2020                                  2021                                 2022




7
 As stated in past reports, data for 4th degree sex offense cases are not included for 2018 and 2019 due to
challenges with identifying this case population in our former records management system.

                                                                                                              9
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B. Paragraph 264(b)
Under Paragraph 264(a), BPD must track “[t]he number of offenders, both the totals and
broken down by gender (i.e., male, female, transgender, queer or non-binary) and the
relationship of the offender to the victim (i.e., stranger or non-stranger).”
The following section provides information about offenders and their demographics. While it
may seem straightforward to count offenders and report their demographics (e.g.,
race/ethnicity, age, sex/gender), there are many factors that contribute to the information
reported about each offender, including the victim’s knowledge of the offender’s actual age or
race/ethnicity. Therefore, the data reported in this section is based on the information which
was reported (by victims, witnesses, etc.) for each case. The reader is cautioned that each case
may contain a different degree of known or perceived information about an offender, based on
the specific circumstances of the case.

Offender Numbers for 2022 Cases8
SOU Cases

As reported above, SOU handled 265 cases in calendar year 2022. Of these, 63% of SOU cases
involved a single offender.
    •   5 cases involved 2 offenders
    •   2 cases involved 3 offenders
    •   2 offenders were involved in 2 cases each
    •   91 cases did not have a specific person(s) identified as the offender(s)
    •   Accounting for the above, there were 178 unique offenders associated with SOU cases
        in 2022

CAU Cases

As reported above, CAU handled 211 cases in calendar year 2022. Of these, 93% of CAU’s cases
involved a single offender.
    •   5 cases involved more than 1 (i.e., multiple) offender
    •   3 offenders were involved in 2 separate cases each
    •   9 cases have unknown offenders (i.e., no name was reported for associated offenders)
    •   Accounting for the above, there were 198 offenders associated with CAU cases in 2022



8
 This section provides offender numbers broken down by unit, but does not provide a grand total number to
ensure that the report does not inadvertently double-count offenders that might possibly be in data sets for
multiple units. For example, the same offender may have committed an offense handled by SOU and another,
separate, case handled by Patrol within the current reporting period.

                                                                                                               10
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Patrol Cases

As reported above, Patrol handled 126 cases in calendar year 2022. Of these, 98% of Patrol’s
cases involved a single offender.
    •   1 case had three offenders (all unknown)
    •   2 cases had two offenders each (all unknown)
    •   Records show 93 known offenders (i.e., names provided) and 38 unknown offenders
        (i.e., names not provided) involved in 4th degree sex assault cases handled by Patrol
    •   Taken together, there were 131 offenders associated with 4th degree sex assault cases
        handled by Patrol9


Demographic Breakdown of All Offenders

Figures 6-8, below provide known/reported demographic information for all offenders in 2022
sex offense cases, broken down by unit (SOU, CAU, and Patrol). These figures display
race/ethnicity (Figure 6), sex/gender (Figure 7), and age (Figure 8) breakdowns for offenders
involved in 2022 sex offense cases.10

As shown in Figure 6, the majority of offenders for all three units (SOU, CAU, Patrol) were Black.
Black offenders made up 72% of SOU offenders, 70% of CAU offenders, and 67% of Patrol
offenders. For SOU and Patrol, White offenders made up the next largest racial-ethnic category
at 15% and 14%, respectively. For CAU, Hispanic offenders comprised the second-largest racial-
ethnic category at 20%.




9
  There were 131 offenders if none of the “unknown” offenders committed multiple offenses. If an unknown
offender did commit more than one offense, then the true number of unique offenders would be smaller than 131.
10
   In 2022, officers could only select one racial-ethnic category to describe an individual involved in a case.
Therefore, if an offender/victim is both Black and Hispanic, that person would be categorized as whichever
race/ethnicity the responding officer entered at the time of their report.

                                                                                                            11
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FIGURE 6: OFFENDER’S RACE/ETHNICITY BY UNIT, 2022

                                                      OFFENDER RACE/ETHNICITY BY UNIT
                            160
                                         134
                            140   128
                            120
      Number of Offenders




                            100
                                            87
                             80

                             60
                                                                                   38
                             40                       27
                                                                   18
                                                            16                16                                                                     16
                             20
                                                                                         7            3                     3
                                                                                                           2      2              1      0       1
                              0
                                        Black              White               Hispanic                   Asian                 Other           Unknown

                                                                              SOU       CAU      Patrol


As shown in Figure 7, males make up the majority of offenders for SOU (98%), CAU (96%), and
Patrol (91%) cases.11

FIGURE 7: OFFENDER’S SEX/GENDER BY UNIT, 2022

                                        OFFENDER'S SEX/GENDER BY UNIT, 2022
                            200                        183
                                                175
                            180
                            160
      Number of Offenders




                                                                        134
                            140
                            120
                            100
                             80
                             60
                             40
                             20                                                                             3           7                   9
                              0
                                                       Male                                                           Female

                                                                         SOU       CAU       Patrol




11
     The Consent Decree recognizes gender identity and includes sex. See Para. 264(b).


                                                                                                                                                    12
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Finally, Figure 8 shows the offenders’ age, broken down per unit. The median age of offenders
in SOU cases is 36, in CAU cases is 30, and in Patrol cases is 38.

FIGURE 8: OFFENDER’S AGE BY UNIT, 2022

                                                 OFFENDER'S AGE, BY UNIT
                         60                                                                                    55

                         50                                                       47                                 48
                                                                                       44
   Number of Offenders




                                                                                                39
                         40                                                35
                                                                                                          32              34
                                                                     31
                         30                                                                26        26
                                            20                               19
                         20                               15
                                                 11
                         10                                                                                                       8
                                                      5        6
                                  2 2   1
                              0
                         0
                                  0-9   10-14         15-17              18-25      26-35        36-45              46+        Unknown

                                                                   SOU      CAU   Patrol




Relationship of Offender to Victim for 2022 Cases

Figures 9-11 illustrate the nature of the relationship between victims and offenders in sexual
assault cases handled by SOU, CAU, and Patrol. While the nature of the relationship is reported
by the victim during the investigation, when entering case data, investigators are limited to the
predetermined codes in Lotus Notes and/or Axon Records. The category of “Unknown”
represents cases in which the relationship was not revealed during a case’s investigation. The
category of “Stranger” represents cases in which the victim and offender did not know each
other.

As seen in Figure 9, the most common relationship between offenders and victims in SOU cases
is acquaintance (27%), followed by Ex-Spouse/Ex-Boyfriend/Ex-Girlfriend (14%), and Stranger
(13%). The relationship between victim and offender was unknown/ not determined in 7% of
SOU cases.




                                                                                                                                         13
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FIGURE 9: RELATIONSHIP OF OFFENDER TO VICTIM IN SOU CASES, 202212

                                     RELATIONSHIP OF OFFENDER TO VICTIM - SOU
                                                       Unknown                               19
                                                        Teacher         1
                                                        Stranger                                                      40
                                                         Spouse              4
                                               Son or Daughter           2
                                                          Sibling       1
                                           Prostitution Related                 5
     Relationship Type




                                         Parent or Step-Parent          1
                                         Other family member                            9
                                                Other Custodial                 5
                                                           Other                                 20
                                                       Neighbor         1
                                              Landlord/Tenant               3
                         Intimate partner (boyfriend/girlfriend)                             19
                                   Ex-Spouse/Ex-boy/girlfriend                                                    39
                                                              DV            3
                                                Brief Encounter                              19
                                      Bar/Nightclub Encounter                       7
                                                  Acquaintance                                                                               73
                                                                    0               10      20        30         40          50   60   70         80
                                                                                                           Number of Cases


As seen in Figure 10, the most common relationship between offenders and victims in CAU
cases is “Other” (28%), followed by Other Family Member (19%), and Parent or Step-Parent
(13%). The relationship between victim and offender was unknown/not determined in less than
3% of CAU cases.




12
  The relationship type, “Other”, refers to any relationship that does not fit within the pre-determined (in Axon/
Lotus Notes) relationship categories, as deemed by the reporting officer.

                                                                                                                                        14
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FIGURE 10: RELATIONSHIP OF OFFENDER TO VICTIM IN CAU CASES, 2022

                                        RELATIONSHIP OF OFFENDER TO VICTIM - CAU
                                             Unknown              3
                                              Teacher             4
                                              Stranger                8
                                     Son or Daughter              4
 Relationship Type




                                                Sibling                       15
                               Parent or Step-Parent                                          29
                               Other family member                                                         42
                                      Other Custodial                                   25
                                                 Other                                                                    60
                                             Neighbor                     9
               Intimate partner (boyfriend/girlfriend)            2
                                      Brief Encounter         1
                                        Acquaintance                          15
                                                          0           10           20        30     40          50   60        70
                                                                                         Number of Cases

As seen in Figure 11, the most common relationship between offenders and victims in Patrol
cases is Otherwise Known and Stranger (both 8%), and Other Family Member (7%).13 The
relationship between victim and offender was unknown/ not determined in 55% of Patrol
cases.




13
  Examples of relationships that might be included in the “Otherwise Known” category include, classmate, parent
or friend of classmate, service provider, etc. Relationships categorized as “Other Family Member” include anyone
other than parent/step-parent or sibling, for example, uncle, cousin, etc.

                                                                                                                          15
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FIGURE 11: RELATIONSHIP OF OFFENDER TO VICTIM IN PATROL CASES, 2022


                                      RELATIONSHIP OF OFFENDER TO VICTIM - PATROL

                                    Student            3
                                   Stranger                            10
                                     Sibling       1
                                Roommate           1
  Relationship Type




                                  Unknown                                                                      72
                         Otherwise Known                                11
                      Other Family Member                          9
                                  Neighbor         1
                       Medical Professional                5
                                     Friend            3
                             Former Dating         1
                                     Dating        1
                                Co-Worker                  5
                              Acquaintance                     7
                                               0               10            20   30    40     50   60   70         80
                                                                                       Count




                                                                                                              16
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C. Paragraph 264(c)
Under Paragraph 264(c), BPD must track “[t]he number of victims/complainants, both the totals and
broken down by gender, race, and age (i.e., under 18 and 18 and older).”

Number of Victims

From January to December 2022, SOU’s cases involved a total of 264 victims. There were four
victims associated with more than one case (i.e., four victims who experienced repeat
victimization during 2022).

During the same period, CAU’s cases involved a total of 211 victims. There were five victims
associated with more than one case (i.e., five victims who experienced repeat victimization
during 2022).

Finally, Patrol cases involved a total of 127 victims. There was one victim associated with more
than one case (i.e., one victim who experienced repeat victimization during 2022). There was
one victim that was unknown in one case.

Demographic Breakdown of Sex Offense Victims

Figures 12-15, below, provide demographic information for all victims in 2022 sex offense
cases, broken down by unit (SOU, CAU, and Patrol). These figures display race/ethnicity (Figure
12), gender (Figure 13), and age (Figures 14 & 15) of victims involved in 2022 cases.

As shown in Figure 12, the majority of victims for all three units (SOU, CAU, Patrol) were Black.
Black victims made up 60% of SOU victims, 67% of CAU victims, and 58% of Patrol victims. For
SOU and Patrol, White victims made up the next largest racial-ethnic category at 30% and 26%,
respectively. For CAU, Hispanic victims comprised the next largest racial-ethnic category at 20%.




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FIGURE 12: RACE/ETHNICITY OF SEX OFFENSE VICTIMS, 2022

                                         RACE/ETHNICITY OF VICTIMS BY UNIT
                       180
                             159
                       160
                                   141
                       140
   Number of Victims




                       120

                       100
                                              79
                        80           73

                        60
                                                                    42
                                                        34
                        40
                                                   24
                                                              18
                        20                                                                                      13
                                                                         5        2 2 1          5 2 1      1
                         0
                              Black            White              Hispanic         Asian         Other     Unknown

                                                             SOU         CAU    Patrol


As shown in Figure 13, females make up the majority of victims for all units - SOU (94%), CAU
(85%), and Patrol (91%) cases. Consistent with prior years’ trends, CAU had the highest
proportion of male victims at 14%. Among male victims, SOU and CAU each had one case in
which the victim identified as a transgender male.

FIGURE 13: SEX/GENDER OF VICTIMS IN SEX OFFENSE CASES, 2022

                                         SEX/GENDER OF VICTIMS BY UNIT
                       300
                                                                                           247
                       250
  Number of Victims




                       200                                                                        179
                                                                                                          168
                       150

                       100

                       50                          31
                                         17                  17
                        0
                                               Male                                              Female

                                                              SOU        CAU   Patrol




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Figure 14 shows the age distribution for victims in each unit. The median age of victims in SOU
cases is 29, in CAU cases is 13, and in Patrol cases is 26.

FIGURE 14: AGE OF SEX OFFENSE VICTIMS BY UNIT, 2022

                                                      AGE OF VICTIMS BY UNIT
                       120
                                               103
                       100                                                              93
                                                                        82
   Number of Victims




                       80
                                                            59
                       60
                                 46
                                                                                                     37           37
                       40                                                                       32
                                                                 18               20                         17
                                                 16    15                                                               16
                       20
                                       7
                             0             0                                                                                        3   1
                        0
                                 0-9       10-14        15-17               18-25        26-35         36-45        46+        Unknown

                                                                      SOU     CAU      Patrol



Figure 15 shows the age distribution for victims in all units combined. Taking all cases together,
victims of sexual offenses were most commonly between the ages of 26 to 35 (21%), followed
by 10 to 14 (20%), and 18 to 25 (17%). Notably, in 2022, nearly half (44%) of all victims of sex
offenses were under the age of 18 years old.

FIGURE 15: AGE OF SEX OFFENSE VICTIMS ALL UNITS, 2022

                                           VICTIM AGE ALL UNITS, 2022
                       140                 119                                          125
                       120                                                  102
   # of Individuals




                       100                              92
                        80
                                 53                                                                   54          53
                        60
                        40
                        20                                                                                                      4
                         0
                                 0-9       10-14       15-17            18-25          26-35         36-45        46+        Unknown
                                                                             Age Ranges




                                                                                                                                            19
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D. Paragraph 264(d)
Under Paragraph 264(d), BPD must report on “[t]he total number of sex offense reports categorized as
founded and unfounded, broken down by the BPD unit categorizing the report.”


Unfounded Cases for 2022 SOU and CAU

To address 264(d), BPD uses the following criteria, as defined by BPD Policy 708, Rape and
Sexual Assault, to determine which cases are unfounded.
Unfounded may refer to a case that is either:
   → Baseless – A call that was improperly coded or a call that does not meet the elements of
     a crime
   → False – The investigation shows that an offense was not committed or attempted

While BPD generally makes these initial unfounded determinations when a case fits one of the
above criteria, BPD is not the only determiner of whether a case is ultimately “unfounded”. The
Baltimore City Sex Assault Response Team (SART) reviews all unfounded cases to confirm they
are unfounded. The SART is composed of representatives from the Baltimore City State’s
Attorney’s Office (BCSAO), the Baltimore Child Abuse Center (BCAC), forensic nurses, and
multiple advocacy organizations that primarily provide services to victims of sexual assault.
Table 1, below, details the number of unfounded cases for SOU and CAU as of year-end 2022,
compared to year-end 2021, 2020, and 2019.

TABLE 1: UNFOUNDED CASES FOR SOU & CAU, 2019-2022
                   Unfounded SOU Cases                        Unfounded CAU Cases
    Year         2019 2020    2021  2022                    2019 2020 2021 2022
  Number of
  Unfounded         8         5          5          1         41        18         20         9
    Cases
    Total
  Number of       285        274        327        265       290       251        331       211
    Cases
   Percent
  Unfounded       2.8%      1.8%        1.5%       0.4%     14.1%      7.2%      6.0%       4.3%


While paragraph 264(d) indicates a need to report on case numbers of founded and unfounded,
BPD does not generally describe cases as “founded.” For the sake of reporting all data required
by the Consent Decree, BPD can state that those it would consider “founded” would be the

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total number of 2022 cases that were not unfounded in 2022. Therefore, in 2022, SOU reported
264 “founded” cases (265-1=264) and CAU reported 202 “founded” cases (211-9=202).




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E. Paragraph 264(e)
Under Paragraph 264(e), BPD must report on “[t]he total numbers of sex offense reports, broken
down by the BPD unit handling the report, that (1) were cleared by arrest, (2) were cleared by
exceptional clearance, including by clearance category, (3) remain open and inactive, and (4) were
referred to the Baltimore City State’s Attorney’s Office for the filing of charges.14

Case Statuses for 2022 Cases

Beyond the number of unfounded cases, a further breakdown of case statuses referred to as
“founded” provides additional information about the progress of case investigations by SOU
and CAU on 2022 cases. Table 2, below, displays the categories of “founded” cases each year
2019-2022 at year-end.

TABLE 2: SOU & CAU CASE STATUSES AT YEAR-END, 2019-2022
                                              SOU Cases                                        CAU Cases
         Category                 2019       2020       2021       2022      2019       2020          2021           2022
Forwarded to BCSAO                 157        95         134        91         164       105           154           133
  Closed/Arrest                    59         26         40         40         59        43            77            62
  Closed/Exception                 41          0          2          0         41         1             4             3
  Open/Under SAO Review            55         66         86         44         56        53            62            43
  Open/Warrant                      2          3          6          5          8         8            11             7
  Forwarded/Declined                -          -          -          2          -         -             -            13
  Closed/Criminal Summons           -          -          -          0          -         -             -             1
  Closed/Non-Criminal               -          -          -          0          -         -             -             4
  Not Forwarded to BCSAO           128        163        194        174        126       129           146           78
  Open/Active                      103        147        181        165        75        103           106           51
  Open/Inactive                    15         11          7          4          3         3            14            11
  Unfounded                         8          5          5          1         41        18            20             9
  Re-Classified                     1          0          1          1          6         5             1             3
  Out of Jurisdiction               1          0          0          3          1         0             5             4
  GRAND TOTAL                      285        258        328        265        290       234           300           211




14
  Due to differences in case processing, BPD is unable to provide data regarding the number of cases sent to
BCSAO for review (Paragraph 264(e)(4)). In Baltimore, 4th degree cases handled by Patrol are generally charged (or
not charged) by police at the time of reporting, as opposed to being sent to the BCSAO for review. It appears that
this data point requirement in the Consent Decree was written with SOU and CAU cases in mind, where those
cases are regularly forwarded to the BCSAO for review.



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To provide further explanation of the categories presented in Table 2, it is important to note
that even though BPD has the independent authority to charge and arrest offenders based on
probable cause, BPD and the BCSAO collaborate regularly about a case prior to arresting and
charging an offender. Nevertheless, the BCSAO makes the ultimate decision on whether or not
to proceed with a prosecution. The disposition of a case listed in Lotus Notes describes the
status of each present and past investigation. BPD sends cases to the BCSAO for review in the
following circumstances:
       1) Cases that are closed by arrest, and
       2) Open cases where the investigation is complete and the offender has been identified
       but not yet charged with a crime.
In 2022, as seen in Table 2 above, 91 of the 265 SOU cases were forwarded to the BCSAO (34%),
and 133 of the 211 CAU cases were forwarded (63%). If a case was not forwarded, it may
remain under active investigation and may still be forwarded to the BCSAO in a future year.
Additionally, if a case was opened in 2021 or earlier and was forwarded to the BCSAO in 2022, it
is not included in this summary. The table shows only the number of cases forwarded to BCSAO
for review out of those that were opened in the calendar year 2022. Of the 174 cases not
forwarded to BCSAO from SOU, 165 were Open/Active, 4 were Open but Inactive, 1 was
Unfounded (reported above), 1 was Re-Classified, and 3 were deemed Out of Jurisdiction. Of
the 78 cases not forwarded to the BCSAO from CAU, 51 were Open/Active, 11 were Open but
Inactive, 9 were Unfounded (reported above), 3 were Re-classified, and 4 were deemed Out of
Jurisdiction.
As shown above, by the end of 2022, SOU had 40 cases closed by arrest, while CAU had 62
cases closed by arrest (if a case is closed by arrest, it means that at least one person has been
arrested, charged with the commission of the offense, and turned over for prosecution). Thus,
by the end of 2022, 15% of SOU’s 2022 cases had been closed by arrest and 29% of CAU’s 2022
cases had been closed by arrest. Also, at the end of 2022, CAU had an additional 7 cases with
the status “open/warrant” and SOU had 5 cases in “open/warrant” status, meaning they had an
open warrant issued for an offender who had not yet been placed under arrest.
Other closed cases are cases that are closed by exception. The threshold for closure by
exception is met if the agency has satisfied all of the following conditions:

   •   Identified the offender;
   •   Gathered enough evidence to support an arrest, make a charge, and turn over the
       offender to the court for prosecution;
   •   Identified the offender’s exact location so that the offender could be taken into custody
       immediately; and
   •   Encountered a circumstance outside the control of law enforcement that prohibits the
       agency from arresting, charging, and prosecuting the offender.


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At the end of 2022, there were 3 CAU cases closed by exception.
Among the other cases that were forwarded to the BCSAO include some instances where the
case was ultimately declined for prosecution. At the end of 2022, BCSAO declined 2 of the
cases SOU had forwarded and 13 cases from CAU. For some cases that BCSAO declines, there is
often an allegation that a crime was committed with no corroborating evidence, which may
lead to BCSAO determining not to proceed with charging the case. Cases can be declined for
prosecution for several reasons which could range from the victim requesting that the State not
proceed with the case, a lack of victim participation, or because the BCSAO determines there is
a high likelihood that there would not be a favorable outcome if they proceed to trial with the
case.
Prior to submitting their cases to the BCSAO, BPD policy requires detectives to attempt to
exhaust every investigative avenue. If a case ultimately is declined, however, BPD will still make
every effort to evaluate any additional evidence that may come to light or take into account
renewed victim participation to determine whether charges should be considered. BPD’s
Special Investigation Section has a strong working relationship with the BCSAO and both
entities work together to deliver the best possible outcome for victims.
At the end of 2022, there were 165 SOU cases and 51 CAU cases that were open and under
investigation, with 87 cases still under review at the BCSAO at the end of 2022 (44 SOU cases;
43 CAU cases). The remaining open cases may have since been forwarded to the BCSAO or
resolved, are still being actively investigated, or the detective has exhausted investigative
avenues at this time.
Another status category is “Open/Inactive,” which is a case designation that supervisors apply.
At the end of 2022, SOU had 4 of its 2022 cases listed as Open/Inactive and CAU had 11
Open/Inactive 2022 cases. An open case is labeled as “Open/Inactive” after a supervisor has
reviewed the case and determined that all available investigative steps have been exhausted
and there are no additional steps that can be taken to solve the case at that time. This allows
the unit to focus on other cases that may need further investigation and/or more immediate
attention, ensuring unit efficiency in the face of limited resources. Open/Inactive cases remain
in an open status, so if any new evidence comes to light, investigative efforts will continue.
Lastly, at the end of 2022, 1 of SOU’s 2022 cases had been unfounded while CAU had 9
unfounded 2022 cases. Furthermore, SOU had 1 reclassified case and CAU had 3 reclassified
cases in 2022.

Case Outcomes for 2022 4th Degree Sex Offenses Handled by Patrol
Table 3 shows the case outcomes for 4th degree sex offenses received by BPD’s Patrol units in
2022. Case outcomes were determined by a manual review of each incident report. Because
the manual review was conducted during the drafting of this report, the case statuses reported
are accurate as of December 2023 (not December 2022).


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TABLE 3 – Case Outcomes: 4th Degree Sex Offenses Handled by Patrol as of December
2023
                     Case Status                                            Count                        %
 Cleared with Summons, Warrant, or Arrest                                    44                       33.85%
 Unknown or Partial IDs/ No Additional Leads                                 26                       20.00%
 Case past statute date                                                      17                       13.08%
 Victim Pursued Charges/ Advised to Pursue Charges                           16                       12.31%
 Unfounded                                                                    9                        6.92%
 Victim Refused to Pursue Charges                                             6                        4.62%
 Charges Refused by ASA/Court                                                 5                        3.85%
 Out of Jurisdiction                                                          1                        0.77%
 Case Status Unknown/ Missing                                                 6                        4.62%
 TOTAL                                                                       130                       100%
 Table Note: The total count of case outcomes is greater than the number of cases because case outcomes are
 offender-driven. For example, if a given case has two offenders, one may be arrested and one may be unknown,
 therefore representing two different case outcomes, both reflected here.


As documented in Table 3, approximately one-third of Patrol’s case outcomes consisted of
cases cleared with summons, warrants, or arrests. Another 20% of case statuses represent
cases for which there are unknown or partial identification of offenders and/or no actionable
leads (at the time of this writing). Thirteen percent (13%) of Patrol case statuses reflected
instances where the given case was past the statute date, approximately 7% of cases were
unfounded, and less than 1% were out of jurisdiction. Victims pursued charges or were advised
to pursue charges in 12% of cases and refused to pursue charges in approximately 5% of cases.
In addition to the case outcomes represented in Table 3, an additional 47 cases were
transferred from Patrol to SOU or CAU during this reporting period. Although these cases
originated at the Patrol level, because they were officially investigated by SOU/CAU, the
statuses of those cases are reflected in the totals for SOU/CAU (Table 2).


F. Paragraph 264(f)
Under Paragraph 254(f), BPD must track “[d]ata about the processing of forensic medical exams (often
referred to as “rape kits”), including: (1) date of reported incident; (2) date of SAFE exam; (3) date
detectives request lab analysis of SAFE exam; (4) date detectives receive lab analysis results.”




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SAFE (Sexual Assault Forensic Exam) Kits

An important part of investigating sexual assault cases is utilizing SAFE (Sexual Assault Forensic
Exam) kits15 in order to collect evidence, document a victim’s injuries, if any, and obtain a
narrative of the incident. Commonly known as “rape kits”, SAFE kits are containers that include
checklists, materials, and instructions, along with envelopes and containers to package any
specimens collected by specially-trained medical professionals during the exam (see RAINN,
rainn.org/articles/rape-kit for further information).
SOU Cases
In 2019, SOU began tracking additional information about SAFE kit testing in its case
management software, thus this year’s report contains the third full year of SOU SAFE kit data.
SOU records the following dates for each case: the date the SAFE was administered, the date
investigators requested lab analysis of the kit (which occurs after the completed kit has been
moved from the hospital to BPD’s Evidence Control Unit), and the date the lab results were
received by the investigator. In instances where a SAFE was not conducted, and in instances
where a SAFE was conducted but not requested for processing, SOU detectives are required to
provide additional documentation as to the reasoning. These SAFE details are exported using a
report in Lotus Notes for SOU cases.
From January 1, 2022 to December 31, 2022, 151 SAFE kits were conducted out of a total 265
SOU Cases. There were 114 SOU cases that did not have SAFE kits completed. The most
common rationales for those 114 SOU cases not having a SAFE it can be that the victim declined
the exam (44) or that too much time had passed since the incident (49), such that it was
unlikely the kit would provide viable evidence. SAFEs are generally not performed if more than
14 days have passed since the incident, as DNA evidence may have deteriorated to the point
that testing would be inconclusive.
After a SAFE is conducted, it must first be processed by the hospital and then transported to
BPD’s Evidence Control Unit, where it can then be submitted to BPD’s lab for analysis. A median
of 4 days elapsed between the exam date and request for analysis date for the kits submitted to
the lab.
Of the 151 completed SAFEs in 2022, SOU submitted 150 to BPD’s Crime Lab for analysis prior
to year-end 2022 and submitted the remaining case for lab analysis in March 2023.
Table 4 summarizes the number of 2022 SOU cases with completed SAFE kits, and the timeline
of the various steps in the processing of a SAFE kit as of November 2023. For the 151 cases in

15
  Note that throughout this report we use the term “SAFE kit” to refer to a forensic exam conducted for sexual
assault cases, but we acknowledge that this exam may be called a different name depending on the medical
provider and/or the common name used by other professionals.

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 which a SAFE was conducted, a median of 0 days passed between the case being opened and
 the SAFE being conducted. Note, the median days passed reflects the difference between the
 date when a case was reported and the date a SAFE kit was conducted, not the difference
 between when the crime occurred and a SAFE kit conducted.

 TABLE 4: TIMELINE OF SAFE KIT PROCESSING - SOU, 2019-2022
                 2019                         2020                      2021                        2022
            Total  Median                 Total Median              Total Median              Total    Median
Category
            Cases   Days                  Cases  Days               Cases  Days               Cases     Days
Crime
             285       -                     274           -          327            -           272             -
Reported
SAFE
             163       0                     140           0          154            0           151             0
Conducted
SAFE Lab
Analysis     160       2                     134           2          146            3           150             4
Requested
Lab Results
             112      112                    119         211          115          211            64            203
Received


 As of November 2023, the SOU had received lab results in 64 of the cases from 2022 that were
 submitted to the BPD Crime Lab. The median length of time that elapsed between the lab
 request and receipt of lab results was 203 days, meaning that the median time it took for the
 lab to analyze a SAFE kit after the case was opened (for SOU’s 2022 cases) was 203 days. SAFE
 Kit results were returned in a broad time range, with a minimum of 63 days and a maximum of
 401 days.
 CAU Cases
 While Table 4, above, details SOU’s 2022 cases with SAFE kits, CAU’s case management
 program does not offer the same fields for data tracking. Notably, SAFEs are conducted in far
 fewer of CAU’s cases than SOU’s cases.16 Therefore, for this year’s report, CAU performed a
 manual review of its 2022 cases to provide the SAFE information available. The total number of
 2022 CAU cases where SAFEs were conducted is 34. The milestones listed above for SOU’s SAFE
 kit tracking are not tracked similarly for CAU’s cases in the old case management system.
 Therefore, the information that BPD is able to report is that of the 34 CAU cases where SAFEs
 were conducted, by the end of October 2023, 26 of those cases have been completed by the
 lab.


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   It is common for child sexual abuse cases to not include SAFE exams for some key reasons. Principally, child
 sexual abuse reports are often delayed for various reasons, which is well-documented in research. Furthermore,
 when a child does report such abuse, medical providers are often disinclined to put a child through such an exam
 and take trauma and the likelihood that such an exam will yield evidentiary value in determining if it is appropriate
 to conduct such an exam.

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While the forensic exam information for the CAU’s cases continues to be limited in this report,
BPD has been working on improving its data collection systems, most notably its case
management system, to ensure that more detailed data is tracked for these forensic exams in
CAU. For 2023 data, the available CAU SAFE kit data will continue to be partial in nature, since
the new case management system came online midyear 2023. Nevertheless, BPD will be able to
provide more detailed data in this arena for the full year of 2024 cases.



Victim Survey
While not a requirement of the Consent Decree, BPD created a victim survey to provide sexual
assault victims with the opportunity to give feedback on their experience with BPD’s officers
and investigators, if they so choose. BPD has included a link to its victim survey on the brochure
that is provided by BPD officers to all victims of sexual offenses. BPD has also informed
members of the Sexual Assault Response Team, such as personnel from Mercy Hospital,
TurnAround Inc, MCASA, and the BCSAO about the availability of the survey for victims to
provide feedback to BPD if they would like to do so.
As of November 2023, BPD has received one survey result. Due to confidentiality and privacy
reasons, BPD will not be publishing the individual survey responses in this report but will
consider them as BPD is looking to continually improve BPD’s internal processes and service
provision.
BPD is pleased to offer victims the opportunity to provide any feedback they wish to provide,
but BPD also understands that many victims may not wish to fill out a survey of this nature due
to trauma and/or any number of reasons. Therefore, while BPD continues to provide this survey
as one avenue for victims to provide feedback about their experience with the Department,
BPD will continue to prioritize a victim-centered and trauma-informed approach by pointing out
the available survey to victims, but not insisting that they complete it.
BPD looks forward to seeing if it receives any additional information via the victim survey to
help understand how the public feels regarding BPD’s handling of sexual assault cases.




Conclusion
This report on 2022 data for cases involving all degrees of sexual offenses provides a snapshot
of the reports received by BPD, and on BPD’s casework for rapes and other sex offenses. As
always, this report not only informs the public of the basic numbers and progress of the 2022


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casework, but it also allows BPD to reflect on the totality of this important casework and ensure
its systems are capably capturing this work.
As stated in the executive summary, some key takeaways of this report are as follows:

   •   The SOU received 265 total cases in 2022 and the CAU received 211 total sex offense
       cases in 2022. In comparison, in 2021, the SOU received 327 total cases and CAU had
       received 331 total sex offense cases. Both SOU and CAU saw a decline in case numbers
       between 2021 and 2022. SOU’s cases declined by 19% and CAU’s cases declined by 36%
       from 2021 to 2022.

   •   BPD’s Patrol Division handled a total of 126 cases of 4th degree sex offense, which are
       the only type of sex offense cases that Patrol officers may handle.

   •   Cases of rape constituted 70% of SOU’s cases and 32% of CAU’s sex offense cases in
       2022.

   •   The majority of the cases handled by SOU (90%) and the Child Abuse Unit (95%) are
       cases where the victim and offender knew each other. For Patrol’s cases, 88% of victims
       and offenders knew each other for the cases handled in 2022.

   •   By the end of 2022, SOU had sent 91 of its 2022 cases (34%) to the Baltimore City State’s
       Attorney’s Office (BCSAO) for review. CAU had sent 63 of its 2022 cases to BCSAO by the
       end of 2022. Most of the 2022 cases that were not yet sent to BCSAO for review were
       still under active investigation, and thus may have been sent to BCSAO since the end of
       2022, or may still be sent to BCSAO in the future.

   •   By the end of 2022, zero SOU cases were closed by exception as compared to 2 in 2021,
       zero in 2020, 34 in 2019 and 44 in 2018. In 2022, 3 CAU cases were closed by exception,
       as compared to 4 in 2021, 1 in 2020, and 10 in 2019. This continues a trend that appears
       to have been established in 2020 whereby cases that are cleared by exception remain
       few, due to the Department modifying its closed by exception practices in 2020 to align
       them with national best practices.

   •   SOU’s closed by arrest rate, calculated based on the total number of cases closed in
       calendar year 2022 divided by the total number of cases received in 2022, was 15%. A
       rate of 15% in 2022 was slightly higher than the rates in 2020 and 2021, which were
       estimated at approximately 13.5%. CAU’s closed by arrest rate in 2022 was 11%, which
       was lower as compared to prior years, when it was 27.8% in 2021 and 24.7% in 2020.

   •   Median processing time for SOU’s 2022 case SAFE kits was 203 days; approximately one
       week shorter than that observed in 2021 (211 days).




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Despite continuing to focus efforts on providing all of the data required by paragraph 264 of the
Consent Decree, there are still certain pieces of information that proved more difficult to
compile and calculate due to BPD’s reliance in 2022 on its old case management system, Lotus
Notes. Fortunately, though, midway through 2023, BPD updated its case management system
and anticipates that it will have even more reliable and pullable data for the coming years.
More complete and reliable data collection and reporting should allow for greater transparency
in the future, as well as increased agency legitimacy, better case management and outcomes,
and the continual improvements to BPD’s victim-centered, trauma-informed practices.




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Appendix A: Keywords and Abbreviations

Key Words
Aggravated Assault: An unlawful attack by one person upon another for the purpose of
inflicting severe or aggravated bodily injury. This type of assault is usually accompanied by the
use of a weapon or by means likely to produce death or great bodily harm.
Attempted Rape: Attempted penetration, no matter how slight, of the vagina or anus with any
body part or object, or oral penetration by a sex organ of another person, without the consent
of the victim.
Baltimore City State’s Attorney’s Office (BCSAO): Agency responsible for the prosecution of all
crimes that occur in Baltimore City.
Burglary: The breaking and entering of a dwelling or storehouse of another person.
Co-Occurring Crimes: Crimes that occur together or simultaneously in the same incident and/or
involving the same victim(s).
Child Abuse Unit (CAU): Unit within the Special Investigative Section (SIS) of the Baltimore
Police Department (BPD) that handles physical and sexual abuse cases involving children.
Lotus Notes: A case management software used by BPD to create electronic casefiles for
investigations. Allows for the tracking of criminal investigations and a variety of other types of
information as an investigative tool.
National Incident Based Reporting System (NIBRS): As of January 1, 2021, the FBI officially
retired the Uniform Crime Report (UCR) system and every law enforcement agency in the
country was required to switch to its replacement, NIBRS. This data tracking system provides
more detailed information than UCR. Four of the main differences are the changes in offense,
the elimination of the hierarchy rule, changes in classification, and ensuring success at the state
level.
Possible Sex Offense: Case where it is not clear through the investigation whether or not a sex
offense took place.
Rape (including Rape Sodomy): Penetration, no matter how slight, of the vagina or anus with
any body part of object, or oral penetration by a sex organ of another person, without the
victim’s consent.
Sex Offense: Act or contact of a sexual nature without consent that does not rise to the level of
rape (e.g., intentionally touching a person’s genital, anal, or other inmate areas for sexual
gratification or abuse of either party).




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Sex Offense Unit (SOU): Unit within SIS that handles the following investigations involving
victims who are 16 years of age or older: rapes and attempted rapes, sex offenses and
attempts, and other complicated cases as deemed necessary by the commanding officer of SIS.
Sexual Assault Forensic Exam (SAFE): A free medical exam conducted by a Forensic Nurse
Examiner for victims who have been sexually assaulted within the last 120 hours (5 day), or if
otherwise determined to be necessary by hospital staff. The SAFE consists of a physical
examination as well as collection of evidence from the victim’s body and clothes, if applicable.
Special Investigation Section (SIS): An arm of BPD’s Criminal Investigations Division, SIS houses
14 specialized units, such as the Sex Offense Unit and Child Abuse Unit.



Abbreviations
BCSAO: Baltimore City State’s Attorney’s Office

BPD: Baltimore Police Department

CAU: Child Abuse Unit

LGBTQ: Lesbian, gay, bisexual, transgender, queer/questioning

RMS: Records Management System

SAFE: Sexual Assault Forensic Exam

SIS: Special Investigation Section

SOU: Sex Offense Unit




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Appendix B: Methodology
     I.      Statement of Purpose
     This methodology was created to describe the Baltimore Police Department’s (BPD) plan for
     complying with Paragraph 264 of the Consent Decree, requiring BPD to “enhance its data
     collection, analysis, and reporting” for sexual assault investigations. This methodology
     describes the data that is currently available, as well as the methods for extracting data
     from Axon and Lotus Notes Records Management Systems.
     II.    Timeline for Developing the Report
     BPD originally developed this methodology pursuant to the Sixth Year Monitoring Plan
     which describes the timeline for production and publication of the report as follows:

               • Finalization of methodology: May 26, 2023
               • Analysis Conducted: May 26, 2023 through August 18, 2023
               • Submission of draft report to DOJ and Monitoring Team: August 18, 2023
               • Finalization of report and court filing: October 6, 2023
               • Public Posting of the report: Quarter 4, 2023
     However, due to unanticipated delays in July 2023, the following revised timeline will be
     pursued:

                  •   Finalization of methodology: August 18, 2023
                  •   Analysis Conducted: August 18, 2023 through September 22, 2023
                  •   Submission of draft report to DOJ and Monitoring Team: September 29, 2023
                  •   Finalization of report and court filing: February 29, 2024
                  •   Public Posting of the report: Quarter 1, 2024

     III.   Design and Implementation
     Data compiled for the 2022 Sex Assault Investigations Data Report originate from Axon and
     Lotus Notes Records Management Systems (hereafter referred to as “Axon” and “Lotus
     Notes”). Axon contains a majority of the data necessary for the Report, including
     information on incidents, offenders, and victims for Sex Offense Unit (SOU), Child Abuse
     Unit (CAU), and 4th Degree (Patrol) sex assault cases. However, because Axon’s Case
     Management environment did not launch until June 2023, BPD investigators continued to
     use Lotus Notes to track and detail the progress of all cases in 202217. Therefore, Lotus
     Notes data was used to assess deliverables related to case status (SOU and CAU), case
     outcomes (Patrol/4th Degree), and SAFE kit processing in this Report.

17
  Axon Case Management was launched on June 13, 2023, replacing Lotus Notes. Therefore, the sexual assault
data report that addresses 2024 cases, which will be published in 2025, will be the first to pull from a single data
source rather than multiple sources.

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     A. Data Required by Consent Decree Paragraph 264, Subparagraphs A-F
     BPD continues to comprehensively compile data and report information on all cases of rape
     and sex offenses handled by SOU and CAU as well as data on 4 th degree sex assaults
     handled by Patrol. These data include information on incidents that victims/complainants
     reported in 2022 and cases that BPD resolved in 2022, regardless of when
     victims/complainants first reported the incidents to BPD.
     The following section provides an overview of the analyses required by subparagraphs A-F
     of Consent Decree paragraph 264 and the data source that was utilized to complete each
     analysis.
     Paragraph 264(a): Under Paragraph 264(a), BPD must track “[t]he numbers of sex offenses,
     broken down by crime category, that are reported to BPD, identifying, where applicable,
     incidents involving co-occurring crimes (i.e., sexual assaults involving domestic violence or
     stalking).”



                               Analysis                                  Paragraph         Data Source
     1     SOU Case Totals, 2018-2022                                   264(a)             Axon
     2     Types of Offenses Handled by SOU, 2022                       264(a)             Axon
     3     SOU Co-Occurring Crimes                                      264(a)             Axon
     4     CAU Case Totals, 2018-2022                                   264(a)             Axon
     5     Types of Offenses Handled by CAU, 2022                       264(a)             Axon
     6     CAU Co-Occurring Crimes                                      264(a)             Axon
     7     4th Degree Sex Offense Case Totals, 2020-2022                264(a)             Axon
     8     4th Degree Co-Occurring Crimes                               264(a)             Axon


     Paragraph 264(b): Under Paragraph 264(b), BPD must track “[t]he number of [offenders],
     both the totals and broken down by gender (i.e., male, female, transgender 18, queer or non-
     binary) and the relationship of the [offender] to the victim (i.e., stranger or non-stranger).”

                               Analysis                                  Paragraph         Data Source
     9     Number of Offenders – SOU, CAU, Patrol                       264(b)             Axon
     10    Race of Offenders – SOU, CAU, Patrol                         264(b)             Axon
     11    Gender of Offenders – SOU, CAU, Patrol                       264(b)             Axon
     12    Age Range of Offenders – SOU, CAU, Patrol                    264(b)             Axon
     13    Victim-Offender Relationship – SOU, CAU, Patrol              264(b)             Axon




18
  Currently, BPD officers can select from the following options when reporting a person’s sex/gender: Female,
Male, Unknown, or X. Therefore, we are unable to report on more specific categories for transgender and gender
non-conforming persons.

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     Paragraph 264(c): Under Paragraph 264(c), BPD must track “[t]he number of
     victims/complainants, both the totals and broken down by gender, race, and age (i.e., under
     18 and 18 and older).”

                                  Analysis                                    Paragraph         Data Source
      14      Number of Victims – SOU, CAU, Patrol                          264(c)              Axon
      15      Race of Victims – SOU, CAU, Patrol                            264(c)              Axon
      16      Gender of Victims – SOU, CAU, Patrol                          264(c)              Axon
      17      Age Range of Victims – SOU, CAU, Patrol                       264(c)              Axon


     Paragraphs 264(d) and (e): Under Paragraphs 264 (d) and (e), BPD must also report data on
     the outcomes of reported cases, broken down by the BPD unit handling the report,
     including the total number of cases that BPD resolved as “unfounded,” cases that BPD
     cleared by arrest or exceptional means, cases that remain open and inactive, and cases that
     were referred to the Baltimore City State’s Attorney Office.

                                Analysis                                   Paragraph           Data Source
     18     Unfounded Cases – SOU & CAU, 2019-2022                       264(d)              Lotus Notes
     19     Case Statuses – SOU & CAU, 2019-2022                         264(e)              Lotus Notes
     20     4th Degree Case Outcomes                                     264(e)              Axon19
     21     Total Cases Closed – SOU & CAU, 2019-2022                    264(e)              Lotus Notes


     Paragraph 264(f): Under Paragraph 254(f), BPD must track “[d]ata about the processing of
     forensic medical exams (often referred to as “rape kits”), including: (1) date of reported
     incident; (2) date of SAFE exam; (3) date detectives request lab analysis of SAFE exam; (4)
     date detectives receive lab analysis results.”

                             Analysis                                     Paragraph             Data Source
     22 Number of Cases with and without SAFE Kits                      264(f)                Lotus Notes
     23 Timeline of SAFE Kit Processing                                 264(f)                Lotus Notes


     B. Plan for Extracting Data from Axon and Lotus Notes
     To report on the requirements of subparagraphs 264(a) through 264(c), BPD will:
     Extract all Axon records pertaining to incidents of rape and sex offenses (including 4 th
     degree sexual assaults) handled by SOU, CAU, and Patrol between January 1, 2022 and




19
  In some cases, SOU/CAU handle 4th degree sex offenses. Case status data for these incidents is not available for
2022 (as it was not pulled along with other case status data in January 2023). Therefore, case status statistics for
4th degree offenses will not include 4th degree cases investigated by SOU/CAU.

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     December 31, 202220. These data include cases that have been closed and cases that remain
     open at the time of the data pull. Axon data provides the following information for analysis:

                • Incident Number
                • Incident Date/Time
                • Offense Type21
                • Offender First Name22
                • Offender Last Name
                • Offender Race
                • Offender Sex
                • Offender Age
                • Victim-Offender Relationship
                • Victim First Name
                • Victim Last Name
                • Victim Race
                • Victim Sex
                • Victim Age
Axon data was be extracted by a system administrator from BPD’s Information Technology
Division. After extraction, data is maintained and analyzed by CDIU’s Research Analyst.
To report on the requirements of subparagraphs 264(d) through 264(f), BPD:
Extracted all Lotus Notes cases pertaining to incidents of rape and sex offenses (including 4 th
degree sexual assaults) handled by SOU and CAU between January 1, 2022 and December 31,
2022. These data include cases that have been closed and cases that remain open at the time of
the data pull. Lotus Notes data provides the following information for analysis:

                 •    Case Status (e.g., Open/Closed, Unfounded)
                 •    SAFE Kit Conducted (yes/no)
                 •    SAFE Kit Conducted Date
                 •    SAFE Kit Requested (yes/no)
                 •    SAFE Kit Request Date
                 •    SAFE Kit Results/Completion Date


20
   To arrive at the case population encompassing 4th degree sex offenses, BPD extracted cases that have an Offense
Type of “Fondling”, a code officers began using in 2021 as part of the transition to the National Incident-Based
Reporting System (NIBRS). Similar to the previously used UCR definition of “placing hands”, the NIBRS definition of
“Fondling” most closely mirrors the Maryland legal definition of 4th degree sex offense, thus also serving as a
relatively reliable proxy for 4th degree sex offenses in BPD’s data systems.
21
   BPD provides offense information for all offense types associated with a given incident to allow for assessment
of co-occurring crimes, per requirement of subparagraph 264(a).
22
   Offender and Victim names were used solely to calculate the total count of offenders (Analysis 9) and victims
(Analysis 14). No personally identifiable information is included in this Data Report.

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Lotus Notes data for 2022 was extracted by SOU/CAU staff and CDIU’s Research Analyst in
January 2023. By extracting the data in early January, BPD is able to more accurately address
subparagraph 264(e), which requires the reporting of case statuses as they stood on December
31, 2022.
Lotus Notes does not contain case outcome data for 4th degree sexual assaults handled by
Patrol. Therefore, to assess 4th degree case outcomes, BPD extracted all Axon records
pertaining to 4th degree sexual assault cases between January 1, 2022 and December 31,
202223. BPD’s Axon representatives pulled these data in September 2023 and manual review
was conducted by CDIU and Patrol commanders in November 2023.

     •   Case Outcome (e.g., Cleared by Arrest, Cleared by Exception)24




23
   To arrive at the case population encompassing 4th degree sex offenses, BPD extracted cases that have an Offense
Type of “Fondling”, a code officers began using in 2021 as part of the transition to the National Incident-Based
Reporting System (NIBRS). Similar to the previously used UCR definition of “placing hands”, the NIBRS definition of
“Fondling” most closely mirrors the Maryland legal definition of 4th degree sex offense, thus also serving as a
relatively reliable proxy for 4th degree sex offenses in BPD’s data systems.
24
   For 4th degree cases handled by Patrol, BPD is able to report on some of the outcome information as required
by the Consent Decree (‘unfounded’, cleared by arrest or exceptional means, and whether a case remains ‘open’).
However, data is not available on whether a case was forwarded to prosecutors by Patrol, nor does it include
whether cases are open/inactive. The open/inactive designation is a management strategy used by SOU, as
opposed to an official case status that would be recorded by Patrol for the cases in which they are primary.

                                                                                                                37
